                             IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF IOWA
                                       WESTERN DIVISION

MARLIN HERBST,                                                         )
                                                                       )             Case No. 5:17-cv-04008-MWB
                                                                       )
                             Plaintiff,                                )             TABLE OF CONTENTS FOR
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v.                                                                     )             PLAINTIFF’S RESISTANCE TO
                                                                       )             DEFENDANT EMORAL INC.’S,
BUSH BOAKE ALLEN INC., et al.                                          )             F/K/A POLAROME
                                                                       )             INTERNATIONAL, INC.’S
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                                                                       )             JUDGMENT (DOC. 144)


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